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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


 LORENZO BUDET, on behalf of
 himself and all others similarly situated, Civil Action No. 1:22-cv-02134
                                            (GC)(LHG)
                    Plaintiff,
                                            Motion Date: August 1, 2022
             v.

 RUTGERS BUSINESS SCHOOL,
 RUTGERS, THE STATE                       Document Filed Electronically
 UNIVERSITY OF NEW JERSEY,

                   Defendants.




             BRIEF IN SUPPORT OF DEFENDANTS’ MOTION
                 TO DISMISS PLANTIFF’S COMPLAINT



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                          PRELIMINARY STATEMENT

       Plaintiff’s Complaint – alleging claims under the New Jersey Consumer

 Fraud Act (“NJCFA”), breach of contract, and unjust enrichment – should be

 dismissed as a matter of law. Plaintiff is currently enrolled as a part-time student

 in a Specialty Master’s Program for Supply Chain Management at Rutgers

 University (“Rutgers”) in the Rutgers Business School (“RBS”) (collectively

 “Rutgers”).1 Plaintiff’s allegations against Rutgers are grounded in the purported

 false reporting in 2018 of employment outcomes for graduates of RBS’s full-time

 Masters in Business Administration (“MBA”) Program. This, Plaintiff contends,

 resulted in the artificial inflation of RBS’s rankings, as reported in certain

 publications like U.S. News & World Report, which in turn misled prospective

 students into applying to RBS for admission, and permitted RBS to charge a

 “premium tuition” to students once enrolled. As argued in detail below, this matter

 should be dismissed in its entirety with prejudice because there is no factual, legal,

 or equitable basis for the claims asserted.

       No Subject Matter Jurisdiction Under Rule 12(b)(1)

       As a threshold matter, Plaintiff lacks standing to prosecute his claims in this

 case. The supposed false employment information and the institutional rankings


 1
       As set forth in Rutgers’s Rule 7.1 Disclosure Statement, RBS is not a
 separate entity but is a constituent unit of Rutgers, The State University of New
 Jersey.
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 data and standards that Plaintiff points to in support of his claims relates

 specifically, and solely, to RBS’s full-time MBA Program. Plaintiff is not, nor has

 he ever been, enrolled in RBS’s full-time MBA Program. Plaintiff’s Complaint

 instead conflates RBS’s full-time MBA Program with the various other Masters

 programs offered by RBS, such as part-time MBA and numerous Specialty

 Programs, each of which are separate and distinct from the other when it comes to,

 among other things, employment outcome reporting, the institutional rankings

 compiled by the different publications, and the tuition they charge to students.

 Plaintiff’s Complaint is bereft of any well-pleaded facts – as opposed to bald

 assertions or unsupported conclusions – that the full-time MBA Program data,

 standards and rankings he points to in the Complaint are relevant or impactful to

 any of RBS’s various other Master’s programs – including the part-time Specialty

 Master’s Program for Supply Chain Management he currently attends – or the

 costs of attending those programs.

       Failure to State a Claim Under Rule 12(b)(6)

       Even if Plaintiff could meet the threshold standing requirement – (he cannot)

 – Plaintiff has still failed to state valid claims upon which relief can be granted:

       First, Plaintiff’s NJCFA claim fails as a matter of law because it has long

 been the case in New Jersey that public entities, like Rutgers, are not subject to the

 NJCFA.


                                            2
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       Second, controlling Third Circuit case law holds that Plaintiff’s “inflated

 tuition” theory of damages is not cognizable in this Circuit (or under the NJCFA).

 Harnish v. Widener Univ. Sch. of Law, 833 F.3d 298 (3d Cir. 2016). Here,

 Plaintiff claims that RBS’s alleged conduct allowed it to charge a “premium

 tuition” to students. This type of speculative damages claim, however, has been

 rejected by numerous courts, including Harnish. Indeed, claims for a violation of

 the NJCFA, breach of contract and unjust enrichment all require that damages be

 ascertainable (and/or subject to reasonable calculation), not speculative, uncertain,

 hypothetical or remote. The legal insufficiency of Plaintiff’s damages theories is

 fatal to all of his claims, even assuming the truth of his factual allegations of

 wrongdoing by Rutgers.

       Third, universities like Rutgers are considered “learned professionals” and,

 as such, are exempt from liability under the NJCFA.

       Finally, Plaintiff’s breach of contract and unjust enrichment claims also fail

 as a matter of law because: (i) nowhere does Plaintiff identify the contract that

 supposedly exists between Plaintiff and Rutgers or, more importantly, what

 specific provision(s) were breached; (ii) Plaintiff’s unjust enrichment claim is

 duplicative of his breach of contract claim; and (iii) Plaintiff fails to plausibly

 identify the benefit he alleges was unjustly conferred on Rutgers.




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       For all the above reasons and the points and authorities stated herein,

 respectfully, Rutgers’s Motion to Dismiss should be granted.

                            STATEMENT OF FACTS

       Plaintiff’s Complaint contains three causes of action: (1) NJCFA (Compl. at

 ¶¶ 120-141); (2) Breach of Contract (Compl. at ¶¶ 142-157); and (3) Unjust

 Enrichment (Compl. at ¶¶ 158-167). Plaintiff purports to bring these claims on

 behalf of himself and others similarly situated. See Compl. at ¶¶ 106-119.

       RBS offers, among other things, undergraduate, graduate, and doctoral

 programs at campuses in New Brunswick and Newark, New Jersey, with “off-

 campus” locations in Jersey City and Morristown, New Jersey, and Singapore. See

 Compl. at ¶ 7, n.1 (citing “www.business.rutgers/edu/about-rbs/at-a-glance” (last

 visited June 13, 2022)); see also id. at ¶¶ 10 & 110 (same).2 The graduate

 programs at RBS include:

       (i)    a full-time MBA Program;

       (ii)   a part-time MBA;


 2
        Because Plaintiff relies on the statements and documents on the websites of
 Rutgers, U.S. News & World Report, and the MBA CSEA to form the basis of his
 claims, the Court may look to the content of those websites on a motion to dismiss.
 In re Philips/Magnavox TV Litig., No. 09-3072 (PGS), 2010 U.S. Dist. LEXIS
 91343, at *15 n.4 (D.N.J. Sept. 1, 2010); see also Pension Benefit Guar. Corp. v.
 White Consol. Indus., Inc., 998 F.2d 1192, 1196-97 (3d Cir.1993) (“When a
 complaint relies on a document . . . the plaintiff obviously is on notice of the
 contents of the document, and the need for a chance to refute evidence is greatly
 diminished.”).
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       (iii)   an Executive MBA; and

       (iv)    a host of Specialty Master’s Programs in the following areas of

 concentration: Accounting (Financial, Governmental, Professional); Taxation;

 Business of Fashion; Digital Marketing; Financial Analysis; Healthcare Analytics

 and Intelligence; Information Technology and Analytics; Quantitative Finance;

 Supply Chain Analytics; and Supply Chain Management. Id.

       Plaintiff is currently enrolled as a part-time student at RBS in its Specialty

 Master’s Program for Supply Chain Management. See Compl. at ¶ 6 (emphasis

 added). Plaintiff started at RBS in September 2019, and expects to graduate in

 May 2023. Id. Plaintiff’s allegations in this case relate to RBS’s reporting of

 employment outcome data to publications (e.g., U.S. News & World Report) that

 collect such data and publish rankings of Business/Graduate Schools and the

 various programs they offer. Id. at ¶¶ 2, 25-34.

       Publications like U.S News & World Report – which Plaintiff cites to and

 relies upon heavily throughout his Complaint – periodically survey educational

 institutions with master’s-level business programs, to collect data which they

 utilize to rank the various institutions and the degree conferring programs they

 offer. See Compl. at ¶ 25 (citing “www.usnews.com/education/best-graduate-

 schools” (last visited June 13, 2022)); ¶ 34, n.3 (citing “www.usnews.com/

 education/best-graduate-schools/articles/business-schools-methodology” (last


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 visited June 13, 2022)); see also ¶¶ 26-33 (discussing U.S. News & World Report

 reporting and ranking). These publications produce separate, standalone rankings

 for: (i) full-time MBA programs, (ii) part-time MBA programs, and (iii) various

 MBA Specialty Programs, including supply chain/logistics management. Id.3

        Plaintiff alleges that RBS “schemed to hire graduating MBA students who

 had not secured employment by the time of graduation so as to inflate its

 rankings.” Id. at ¶ 15. Plaintiff further alleges that this scheme led RBS’s students

 to pay a “premium tuition,” and that Plaintiff (and the Class members he seeks to

 represent) “would not have enrolled [in RBS] and paid this premium but for

 [RBS’s] deceit.” Id. at ¶ 3; see also, id. at ¶ 136 (“But for [RBS’s] deceptive

 reporting of admissions data that increased its rankings, Plaintiff and Class

 members would not have enrolled at [RBS] and paid its premium tuition and

 fees.”).

        The facts that Plaintiff points to in support of this alleged “scheme,”

 however, relate exclusively to employment outcome data from a single calendar



 3
        For example, “U.S. News produced 13 standalone rankings of popular
 specialties. … The ranked MBA specialties are the following: accounting, business
 analytics, entrepreneurship, finance, information systems, international business,
 management, marketing, nonprofit management, production/operations, project
 management, real estate, and supply chain/logistics management.” See Compl. at ¶
 34, n.3 (citing “www.usnews.com/education/best-graduate-schools/articles/
 business-schools-methodology” (last visited June 13, 2022)).

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 year – 2018 – and concern only graduates from RBS’s full-time MBA Program –

 as opposed to the program for which he was matriculating:

      Compl. at ¶¶ 21 & 111 – “www.business.rutgers.edu/sites/default/files/
       documents/factsheet-mba-full-time.pdf” – providing information only about
       RBS’s full-time MBA program.

      Compl. at ¶ 26 – “U.S. News Best Business School rankings compare full-
       time MBA programs on their career placement success …”

      Compl. at ¶ 34 – “U.S. News ranked 134 business schools that provided
       enough data on their full-time MBA programs …”

      Compl. at ¶¶ 36-45 – citing MBA CSEA Standards for Full-Time MBA
       Programs.4

      Compl. at ¶¶ 53-88 & 97 – each of the six (6) students referenced in these
       paragraphs (i.e., students “A” through “F”) graduated from the full-time
       MBA Program and their employment outcomes are alleged to have been
       reported in connection with the full-time MBA Program.

      Compl. at ¶ 96 – “www.business.rutgers.edu/full-time-mba”

        The foregoing facts, which are drawn directly from Plaintiff’s Complaint

 and the documents/information cited therein, together with the case law and

 authorities discussed below, compel dismissal of each claim pled in the Complaint.




 4
       MBA Career Services & Employer Alliance (“CSEA”) is a member
 organization – and Rutgers is a member—that publishes Standards for Reporting
 Employment Statistics “to `ensure peer schools, prospective students and the media
 have accurate and comparable employment information from graduate business
 schools.’” See Compl. at ¶ 36.
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                                     ARGUMENT

  I.   APPLICABLE LEGAL STANDARDS

        A.    Subject Matter Jurisdiction

       A court must grant a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(1)

 if it lacks subject matter jurisdiction to hear a claim. See In re Schering Plough

 Corp. Intron/Temodar Consumer Class Action, 678 F.3d 235, 243 (3d Cir. 2012).

 “The question of standing is a threshold inquiry in all actions.” City of Pittsburgh

 v. West Penn Power Co., 147 F.3d 256, 264 (3d Cir. 1998). Standing “is an

 essential and unchanging part of the case-or-controversy requirement of Article

 III” and at an “irreducible constitutional minimum” requires (1) an “injury in

 fact[;]” (2) “a causal connection between the injury and the conduct complained

 of[;]” and (3) a likelihood that the injury will be “redressed by a favorable

 decision.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). Plaintiff’s

 lack of standing, as shown below, means this Court lacks subject matter

 jurisdiction to hear Plaintiff’s claims and/or grant him any of the relief he seeks.

        B.    Failure to State a Claim upon Which Relief can be Granted

       Dismissal under Fed. R. Civ. P. 12(b)(6) is appropriate if a complaint does

 not contain “sufficient factual matter, accepted as true, to ‘state a claim to relief

 that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

 Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)); see also Fowler v. UPMC


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 Shadyside, 578 F.3d 203, 210 (3d Cir. 2009). This plausibility standard obligates a

 plaintiff to provide “more than labels and conclusions, and a formulaic recitation of

 the elements of a cause of action.” Twombly, 550 U.S. at 555. Instead, the

 pleadings must provide sufficient factual allegations to allow the Court to “draw

 the reasonable inference that the defendant is liable for the misconduct alleged.”

 Iqbal, 506 U.S. at 678. “[A] court need not accept as true allegations that

 contradict matters properly subject to judicial notice or by exhibit.” Secured Mail

 Sols. LLC v. Universal Wilde, Inc., 873 F.3d 905, 913 (Fed. Cir. 2017) (internal

 quotations omitted). Nor is the Court required to accept as true bald assertions,

 unsupported conclusions or unwarranted inferences. See TriPlay, Inc. v. WhatsApp

 Inc., No. 13-1703-LPS-CJB, 2018 U.S. Dist. LEXIS 49953, at *8 (D. Del. Mar. 27,

 2018). Further, “[t]he plausibility standard is not akin to a ‘probability

 requirement;’” the well-pleaded facts must do more than demonstrate that the

 conduct is “‘merely consistent with’ a defendant’s liability” as to “permit the court

 to infer more than the mere possibility of misconduct.” Iqbal, 556 U.S. at 678-79.

       Regardless of the varying labels Plaintiff has affixed to his allegations

 (NJCFA, breach of contract, unjust enrichment), the face of the Complaint (and the

 documents/information cited to or referenced in the Complaint), confirms that all

 of Plaintiff’s claims are deficient and fail as a matter of law.




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 II.   PLAINTIFF LACKS STANDING TO ASSERT CLAIMS PREMISED
       ON A PROGRAM HE DOES NOT ATTEND

       “[C]lass representatives must meet Article III standing requirements the

 moment a complaint is filed.” Neale v. Volvo Cars of N. Am., LLC, 794 F.3d 353,

 367 (3d Cir. 2015) (citing Lewis v. Casey, 518 U.S. 343, 358, (1996)). Generally,

 a “plaintiff may not maintain an action on behalf of a class against a specific

 defendant if the plaintiff is unable to assert an individual cause of action against

 that defendant.” Haas v. Pittsburgh Nat’l Bank, 526 F.2d 1083, 1096 n.18 (3d Cir.

 1975). “If the named plaintiffs bringing a class action claims do not individually

 have standing to bring those claims, the case should be dismissed prior to the class

 certification process.” Ramirez v. STi Prepaid LLC, 644 F. Supp. 2d 496, 504

 (D.N.J. 2009). The reason for this is straightforward: “a plaintiff who lacks the

 personalized, redressable injury required for standing to assert claims on his own

 behalf would also lack standing to assert similar claims on behalf of a class.”

 Id. (quoting Holmes v. Pension Plan of Bethlehem Steel Corp., 213 F.3d 124, 135

 (3d Cir. 2000)).

       In this case, Plaintiff, a part-time student enrolled in a Specialty Master’s

 Program for Supply Chain Management, does not possess the same interest, nor

 would he have suffered the same alleged injury as students enrolled in, for

 example, the full-time MBA Program. As Plaintiff cedes, RBS has a variety of

 Masters Programs: a full-time MBA Program; a part-time MBA program; and
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 various Specialty Masters in Business Programs, which includes the Supply Chain

 Management Program that he attends. See ECF No. 1, Compl. at ¶ 7, n.1 (citing

 “www.business.rutgers/edu/about-rbs/at-a-glance” (last visited June 13, 2022)); see

 also id. at ¶¶ 10 & 110 (same). Plaintiff’s program is entirely separate from the

 full-time MBA Program from which the rankings data at issue in this case is

 obtained and reported. In other words, the allegedly inflated employment data

 related only to full-time students in the school’s full-time MBA degree granting

 program; it did not include data from RBS’s Specialty Program to which Plaintiff

 applied and presently attends.

       As also noted above, the full-time MBA, part-time MBA, and Specialty

 Programs are treated separately by the institutional rankings publications at issue.

 See Compl. at ¶ 34, n.3 (citing “www.usnews.com/ education/best-graduate-

 schools/articles/ business-schools-methodology” (last visited June 13, 2022)). In

 addition, the MBA CSEA website cited by Plaintiff in the Complaint explains that

 there are different standards for Specialty Master’s and Part-time MBA Programs:

 “[t]he growth of Specialty Master’s and Part-time MBA programs indicated a need

 for separate sets of standards in order to meet the unique needs of those

 populations. In 2017, the Standards for Reporting Part-time (Excluding Executive)

 MBA Employment Profile© and Standards for Reporting Specialty Masters

 Program Statistics© were created.” Id. at ¶ 37 (citing “www.mbacsea.org/


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 standards” (last visited June 13, 2022) for information on the various MBA CSEA

 reporting standards for full-time MBA, part-time MBA, and Specialty Master’s

 Programs). Plaintiff, however, cites only to the full-time MBA Program standards

 in his Complaint even though he does not, nor has he ever attended, the full-time

 MBA program at RBS.

        Nowhere does Plaintiff plausibly allege how the supposedly false data

 related to the full-time MBA program is relevant to, for example, (i) the purchasing

 decisions of prospective students in other RBS programs; (ii) the setting and

 payment of tuition in other RBS programs; and/or (iii) the educational experience

 expected by or provided to students in other programs. Nor, for that matter, has

 Plaintiff demonstrated – beyond generalized and conclusory assertions – a

 cognizable interest in, or that he suffered any actual injury caused by, supposedly

 false data reported to rankings publications concerning a program that Plaintiff, by

 his own admission, does not attend. As a result, Plaintiff has failed to plead the

 facts necessary to establish standing to assert the claims pled in this matter, and his

 Complaint should be dismissed.

 III.   PLAINTIFF’S NEW JERSEY CONSUMER FRAUD ACT CLAIM
        FAILS AS A MATTER OF LAW AND SHOULD BE DISMISSED

        Count One of Plaintiff's complaint alleges Rutgers violated the NJCFA,

 which prohibits a “person” from using fraud or deceptive practices in advertising

 or sales. N.J.S.A. 56:8-2. The NJCFA specifically defines a “person” as a “natural
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 person or his legal representative, partnership, corporation, company, trust,

 business entity or association, and any agent, employee, salesman, partner, officer,

 director, member, stockholder, associate, trustee or cestuis que trustent thereof.”

 N.J.S.A. 56:8-1(d).

        A.    Public Entities are not Subject to Liability under the NJCFA

       Public entities, like Rutgers, are not subject to the NJCFA. Judge Pressler’s

 commentary to the New Jersey Court Rules succinctly states the rule on which

 New Jersey’s public entities have relied: “Government agencies including local

 public entities are not subject to the [New Jersey Consumer Fraud] Act.” Pressler,

 Current N.J. Court Rules, comment 1.3.1(d) to R. 4:5-8 (2007). Rutgers is

 undeniably a public entity. See Fine v. Rutgers, 163 N.J. 464, 468 (2000) (Rutgers

 a “public entity” to which Tort Claims Act applies); Fuller v. Rutgers, 154 N.J.

 Super. 420, 422 (App. Div. 1977) (same); see also N.J.S.A. § 59:1-3, 1972 Task

 Force Comment (“For the purposes of establishing liability in the State of New

 Jersey this definition is specifically intended to include such entities as the New

 Jersey Highway Authority and Turnpike Authority and Rutgers the State

 University”).

       In Ramapo Brae Condo. Ass’n v. Bergen Cnty. Hous. Auth., 328 N.J. Super.

 561, 575 (App. Div. 2000), aff’d o.b., 167 N.J. 155, 157 (2001), the Appellate

 Division held, and the New Jersey Supreme Court subsequently affirmed, that a


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 county housing authority, as a public entity, is not subject to liability under the

 NJCFA. Importantly, “it would be contrary to the expressed policies of the Tort

 Claims Act if we were to conclude that the Authority could be held responsible

 under the [New Jersey] Consumer Fraud Act.” Id.; see also Fields v. Salem Cnty.

 Vocational Tech. Sch., Docket No. A-3511-14T1, 2017 N.J. Super. Unpub. LEXIS

 117 *4 (App. Div. Jan. 19, 2017) (“Public entities have consistently been excluded

 from the definition of ‘person’ under the CFA.”) (citing cases).5

       In Ramapo Brae, the Appellate Division addressed the policy implications of

 subjecting public entities to the NJCFA, determining that whereas taxpayers

 benefit from allowing the government to sue under the NJCFA, they are harmed if

 the government is exposed to the NJCFA’s treble damages provision, especially

 since “consumer fraud actions do not require a heightened standard of proof as is

 necessary to obtain punitive damages” under other statutes, such as the Law

 Against Discrimination (“LAD”). Ramapo Brae, supra, 328 N.J. Super. at 575. In



 5
         See also Hampton Hosp. v. Bresnan, 288 N.J. Super. 372, 383 (App. Div.),
 certif. denied, 144 N.J. 588 (1996) (hospital services not within purview of NJCFA
 when those same services are regulated by State of Department of Health); Barry
 v. N.J. State Hwy. Auth., 245 N.J. Super. 302, 307-308 (Ch. Div.1990) (finding
 NJCFA did not apply to Highway Authority because legislature did not intend Act
 to apply to entity already supervised and regulated by agency of the State);
 Daaleman v. Elizabethtown Gas Company, 77 N.J. 267 (1978) (finding NJCFA not
 applicable to public utility).


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 affirming Ramapo Brae, supra, 167 N.J. at 157, the Supreme Court agreed with

 this conclusion.6

       In addition, defining the boundaries of governmental liability is primarily a

 legislative, not a judicial, prerogative. See N.J.S.A. 59:2-1 (immunizing public

 entities against any injuries unless specifically authorized by the Tort Claims Act);

 Chatman v. Hall, 128 N.J. 394, 416 (1992). Although the Legislature has

 expressly subjected public bodies to liability under other remedial statutes, such as

 the LAD, N.J.S.A. 10:5-5e, it did not do so with the NJCFA. Since 2001, when the

 Supreme Court affirmed Ramapo Brae, supra, it has been clear that the judiciary

 considers public entities exempt from the NJCFA. Nonetheless, the Legislature

 has not amended the statute to broaden its coverage to include public entities.

 Presumably, then, the Legislature agrees with the judicial view that the NJCFA

 was not intended to apply to public entities. See Cavuoti v. N.J. Transit Corp, 161

 N.J. 107, 133-34 (1999) (per curium) (“[W]hen a statute has been judicially

 construed, the failure of the Legislature subsequently to act is evidence of


 6
        The Appellate Division in Ramapo Brae also determined that subjecting
 public entities to the NJCFA contravenes “the expressed policies of the Tort
 Claims Act,” under which immunity is the rule and liability the exception. Id. at
 575-76; N.J.S.A. 59:1-2; Gerber ex. rel. Gerber v. Springfield Bd. of. Educ., 328
 N.J. Super. 24, 34 (App. Div. 2000). For example, a violation under the Act may
 trigger strict liability, and “[e]ven actions taken in good faith may subject the actor
 to liability for consumer fraud.” Ramapo Brae, 328 N.J. Super. at 575. Under the
 Tort Claims Act strict liability is barred, N.J.S.A. 59:9-2b, and a public employee
 cannot be held liable for enforcing the law in good faith. N.J.S.A. 59:3-3.
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 legislative acquiescence in the construction given to the statute.”).

         As a result of the foregoing, Plaintiff’s claim under the NJCFA is barred as a

 matter of law, and a dismissal of that claim with prejudice is warranted.

         B.    Plaintiff’s Alleged Damages are Speculative and Plaintiff Cannot
               Demonstrate Ascertainable Loss under the NJCFA

         Even if Rutgers was subject to liability under NJCFA, which it is not,

 dismissal would nonetheless be warranted here because Plaintiff cannot

 demonstrate ascertainable loss. A critical element of any claim brought under the

 NJCFA is proof of “ascertainable loss.”7 By definition, an ascertainable loss must

 be quantifiable or measurable. Either an out-of-pocket loss or a demonstration of a

 loss in value will suffice to meet the NJCFA’s ascertainable loss requirement.

 N.J.S.A. 56:8-19; Gross v. Johnson & Johnson-Merck Consumer Pharms. Co., 303

 N.J. Super. 336, 344-45 (Law Div. 1997); see also Hoffman v. Asseenontv.com,

 Inc., 404 N.J. Super. 415, 418, 426-27 (App. Div. 2009) (when payment for

 product cancelled, and “reduced” credit line never impacted plaintiff, no



 7
     A prima facie NJCFA violation consists of the following three elements:

         (1) unlawful conduct,
         (2) an ascertainable loss, and
         (3) a causal nexus between the unlawful conduct and ascertainable loss.

 See Int’l Union of Operating Eng’rs Local No. 68 Welfare Fund v. Merck & Co.,
 192 N.J. 372, 389 (2007).

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 ascertainable loss). Ascertainable losses, however, are limited only to economic

 losses, i.e., non-economic losses are not actionable. See Gennari v. Weichert Co.

 Realtors, 148 N.J. 582, 612-13 (1997).

       A number of courts have dismissed lawsuits against educational institutions

 that were premised on the schools’ dissemination of allegedly false statistics

 touting the supposedly favorable employment rates and salaries of their graduates.

 Plaintiffs in those cases relied upon the same or similar theories and claims as

 those advanced here, such as the “inflated tuition” theory of damages alleged by

 Plaintiff. See Compl. at ¶ 3 (alleging students paid a “premium tuition”); ¶¶ 133,

 136-137 (again alleging payment of “premium tuition and fees”).8

       Significant here is the Third Circuit’s decision in Harnish v. Widener Univ.

 School of Law, 833 F.3d 298 (3d Cir. 2016). In Harnish, Plaintiffs alleged that

 Widener induced them to enroll by misrepresenting that 90-97% of its graduates

 were employed after graduation. Id. at 302. They claimed that these misleading

 statistics “enabled Widener to charge its students ‘inflated’ tuition - that is, higher

 tuition than what Widener would have received if full and accurate statistics were

 published instead.” Id. Stated differently, “Widener’s misrepresentations caused


 8
       In his Complaint, Plaintiff makes the vague assertion that he and the Class
 members “received an education less than and different from what they expected
 based on [RBS’s] false statistics and rankings.” See Compl. at ¶ 137. Nowhere in
 the Complaint, however, does plaintiff plead any facts to support this bald and
 conclusory allegation.
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 them to pay more for their education than it was truly worth.” Id. at 309. They

 sought damages “equal to the amount of tuition that students allegedly overpaid.”

 Id. at 302.

       The Third Circuit affirmed the trial court’s order denying class certification,9

 and criticized plaintiffs’ “inflated-tuition theory,” noting that it “has been rejected

 by the New Jersey and Delaware courts outside the federal securities fraud

 context.” Id. at 309. The Third Circuit characterized plaintiffs’ “inflated-tuition

 theory” as “non-cognizable.” Id. It emphasized that “the ascertainable-loss and

 causal-relationship elements of the NJCFA and the DCFA [Delaware Consumer

 Fraud Act] are not met by the kind of price-inflation theory discussed above and

 advanced by the plaintiffs.” Id. at 312; see also Int’l Union of Operating Eng’rs

 Local No. 68 Welfare Fund, 192 N.J. at 392 (rejecting plaintiff’s attempt to utilize

 “price inflation” as a “cause” of “ascertainable loss.”); N.J. Citizen Action v.

 Schering-Plough Corp., 367 N.J. Super. 8, 16 (App. Div. 2003) (same).

       Even though the “inflated-tuition theory” was found by the Third Circuit in



 9
        While the Third Circuit ruling in Harnish was rendered on an appeal of the
 District Court’s denial of class certification, the Court of Appeals made it clear that
 the “inflated tuition” damages theory not only failed as applied to the Rule 23(b)(3)
 predominance requirement, but also because it was deficient as a matter of law:
 “[T]he plaintiffs fail to meet the predominance requirement of Rule 23 (b)(3)
 because the only class-wide evidence of damages that they offer supports a non-
 cognizable theory.” 833 F.3d at 309.

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 Harnish to be “non-cognizable,” Plaintiff here has nevertheless relied upon it in his

 Complaint. He contends that RBS “intentionally reported false data and made

 misleading claims” which enabled it to charge “premiums for tuition,” and he

 seeks to recover the alleged overpayment. See, e.g., Compl. at ¶ 3 (“students paid

 a premium tuition … [Plaintiff] paid this premium … tuition premiums”); ¶ 4

 (“premium per credit rate of tuition”); ¶ 136 (“premium tuition and fees”); ¶ 137

 (“paying a premium tuition”); ¶ 138 (seeking to recover “the incremental

 difference the tuition and fees [RBS] actually charged to Plaintiff and the amount

 of tuition and fees [Plaintiff and Class members] would have paid had they

 enrolled in other unranked or lower ranked programs”). However, that

 fundamentally flawed damages theory was rejected not only by the Third Circuit,

 but also by other Courts in decisions discussed below from Illinois and New

 York.10

       For example, in Petrizzo v. DeVry Educ. Group, Inc., the court dismissed a

 class action complaint that was based on allegedly false advertising by DeVry that



 10
        The consumer fraud statutes of Illinois and New York, like the NJCFA, do
 not allow for recovery of damages that are merely speculative. See, e.g., Petty v.
 Chrysler Corp., 799 N.E.2d 432, 439 (Ill. App. Ct. 2003) (Illinois Consumer Fraud
 Act requires “actual damages,” which “may not be predicated on mere
 speculation”); Matter of Harris v. Dutchess Cnty. Bd. of Coop. Educ. Servs., 25
 N.Y.S.3d 527, 543 (N.Y. Sup. Ct. 2015) (dismissing claim under New York
 Consumer Fraud Statute, which requires “actual injury,” court held that plaintiffs’
 claims of “lost or diminished employment opportunities” were speculative).
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 90% of its graduates obtained new jobs in their fields of study within six months of

 graduation. C.A. No. 16-cv-9754, 2018 U.S. Dist. LEXIS 22358, at *5, 19-20

 (N.D. Ill. Feb. 12, 2018). Plaintiffs alleged that they relied on these advertisements

 when deciding to enroll in DeVry, and were unable to find jobs in their fields of

 study within six months of graduation. Id. at *7. Plaintiffs asserted claims under

 the consumer fraud statutes of Illinois and other states, as well as a claim for unjust

 enrichment.

       Plaintiffs proposed a theory of damages based on the difference between

 what they actually paid and what they would have paid, if anything, had they

 known the true facts. Their complaint alleged that they would have either paid less

 money or would not have enrolled at all, had they known the truth behind the

 advertised employment statistics. Id. at *14. However, the court found this

 damages theory to be speculative to a fault, holding as follows:

       [I]t would seem that the difference between the true value [of the
       DeVry degree] and the inflated value can only be based on speculative
       post-graduate career prospects and earning potential. Plaintiffs do not
       allege that any particular facet of the quality of their education or the
       degree they received was inadequate, or that they were promised a
       certain employment outcome…. A consumer-fraud complaint need
       not allege a precise damages amount or a fully-developed
       mathematical model for calculating damages. But it needs to allege
       facts sufficient to show that plaintiffs suffered actual, measurable,
       non-speculative damages. The complaint here falls short.

 Id. at *17. Plaintiff here relies upon the exact same flawed inflated tuition theory

 that was properly rejected by the court in Petrizzo. See, e.g., Compl. at ¶ 3; Compl.
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 at Count One (¶¶ 120-141).

       Like Petrizzo, Plaintiff here does not plausibly allege that his business

 school education at RBS “was inadequate, or that [he was] promised a certain

 employment outcome” if he enrolled in RBS’s part-time Specialty Master’s

 Program. Petrizzo, 2018 U.S. Dist. LEXIS 22358, at *17. Instead, Plaintiff merely

 asserts that he and Class members “received an education less than and different

 from what they expected,” (Compl. at ¶ 137), an assertion so vague as to be

 practically meaningless. Plaintiff then alleges that he and Class members “would

 have paid [less] had they enrolled in other unranked or lower ranked programs.”

 Compl. at ¶ 138. These are exactly the sort of vague and conclusory assertions that

 are contrary to Plaintiff’s obligation under Iqbal – to provide sufficient factual

 allegations to allow the Court to “draw the reasonable inference that the defendant

 is liable for the misconduct alleged.” Iqbal, 506 U.S. at 708; see also TriPlay, Inc.,

 2018 U.S. Dist. LEXIS 49953, at *8 (Court not required to accept as true bald

 assertions, unsupported conclusions or unwarranted inferences). Also, just as in

 Petrizzo, the Complaint “falls short” because the “true value” of the RBS degree

 and the “inflated value” “can only be based on speculative post-graduate career

 prospects and earning potential.” 2018 U.S. Dist. LEXIS 22358, at *17.

       The Petrizzo decision relied on several similar cases, one of which was

 Phillips v. DePaul University, 19 N.E.3d 1019 (Ill. App. Ct. 2014). In that case,


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 graduates of DePaul’s law school brought a class action alleging that they enrolled

 based on misleading employment and salary statistics concerning recent graduates

 transmitted by DePaul to U.S. News & World Report, the ABA, and the National

 Association for Law Placement. Id. at 1025. Plaintiffs alleged claims under the

 Illinois Consumer Fraud and Deceptive Business Practices Act and for common

 law fraud and negligent misrepresentation.

       In Phillips, plaintiffs claimed damages based on the difference between what

 they paid in tuition to DePaul in reliance on the allegedly overstated employment

 and salary statistics for recent graduates and “what they should have paid in tuition

 based on the ‘true’ value of a DePaul degree.” Id. at 1034. The court held that

 plaintiffs “failed to plead any reliable mechanism for calculating the ‘true’ value of

 their law degrees because of the alleged misrepresentation.” Id.

       The trial court dismissed the complaint because plaintiffs’ damages theory,

 which was “based on their post- graduate jobs and incomes” (id. at 1032), was too

 speculative. That ruling was affirmed on appeal. The Court of Appeals agreed

 with the trial court that “a law school graduate’s success in obtaining the job and

 lifetime salary he/she desires is the result of a multitude of factors.” Id. at 1033.

 Moreover, “[g]iven the myriad factors that go into a successful job search and

 career earnings,” it cannot be established that, but for the allegedly misleading

 statistics, the plaintiffs “would have obtained their desired jobs/salaries even upon


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 graduation from different law schools.” Id.

       The Court of Appeals emphasized in Phillips that “[t]o sufficiently plead a

 cause of action under the [Illinois] Consumer Fraud Act, plaintiffs must plead

 actual damages. Damages may not be predicated on mere speculation, hypothesis,

 conjecture or whim.” Id. at 1034 (citation omitted) (emphasis added). The Court

 agreed with the trial court that in light of the numerous factors impacting an

 attorney’s ability to obtain a particular job and salary, “[n]one of these factors can

 be determined with any kind of certainty and, therefore, the amount of damages, if

 any, sustained by [p]laintiffs is wholly speculative.” Id. at 1035.

       In addition, and also instructive, was the Phillips Court’s recognition that

 “the employment statistics listed in the employment information for the 2005,

 2007, and 2009 classes were only generalized, historical averages for the members

 of those particular classes, and they did not explicitly promise or project that those

 averages would be the same for individuals (such as plaintiffs) graduating years

 later.” Id. at 1034 (emphasis in the original). Nowhere does Plaintiff here allege

 in his Complaint – nor could he – that Rutgers explicitly promised or projected that

 the 2018 full-time MBA program employment outcome data or rankings would be

 the same for individuals like Plaintiff – graduating years later (and from a separate,

 part-time Specialty Master’s Program).

       Also on point is the decision in Gomez-Jimenez v. New York Law School,


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 943 N.Y.S.2d 834 (N.Y. Sup. Ct.), aff’d, 956 N.Y.S.2d 54 (N.Y. App. Div. 2012).

 Plaintiffs’ class action alleged violations of the New York Consumer Fraud statute

 (General Business Law §349) and common law fraud and misrepresentation based

 on New York Law School’s dissemination of allegedly misleading and deceptive

 statistics concerning recent graduates’ employment rates and salaries. Id. at 837.

 Plaintiffs alleged that the inflated statistics induced them to enroll at New York

 Law School because obtaining a degree there meant that a “high paying, full-time,

 permanent job was highly likely.” Id. at 837, 847. Just as in this case, “plaintiffs’

 sole objection to the degrees they earned at NYLS is purely in employment terms”

 and “plaintiffs do not challenge the quality of the education they received.” Id. at

 844, 847.

       Similar to the Complaint in this case was the plaintiffs’ allegation that, had

 they been aware that the published information concerning the employment and

 salaries of New York Law School graduates was false, they would have elected to

 either “pay less to NYLS or perhaps not attend the school at all.” Id. at 848. Their

 argument was that “[t]his is a case about a product being mislabeled; and because

 that product is mislabeled, the law school can charge a premium for it.” Id. at

 849.11 They sought damages “equal to the difference between the alleged inflated


 11
        See Compl. at ¶ 136 (alleging that if Plaintiff and Class members had known
 of the “deceptive reporting of admission data that increased its rankings,” they
 would not have enrolled at RBS “and paid its premium tuition and fees.”).
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 tuition they paid because of the allegedly misleading statements and what they

 characterize as the ‘true value’ of a NYLS degree.” Id. at 837.

       Plaintiffs not only sought restitution and disgorgement of all tuition

 payments, but also “consequential costs,” such as interest on loans, books,

 traveling and housing expenses. Id. at 847. The court held that plaintiffs were

 asking it to engage in “impermissible speculation” concerning their damages and

 concluded as follows:

       To measure damages based on the difference in value between a
       degree which guarantees a good legal job, as defined by plaintiffs, and
       one that does not … would require the court to engage in naked
       speculation. This the court cannot do.

 Id. at 849, 851. See also id. at 857 (“plaintiffs’ theory of damages, that is, an

 award of the difference between what they paid for their law degree and an amount

 representing its ostensibly lesser intrinsic worth because the degree has not

 sufficed as an entrance ticket for the type of jobs plaintiffs hoped to obtain, is

 entirely too speculative and remote to be quantified as a remedy under the law.”).

 Accord Bevelacqua v. Brooklyn Law Sch., 975 N.Y.S.2d 365 n.13 (N.Y. Sup. Ct.

 Apr. 22, 2013) (dismissing class action based on Brooklyn Law School’s

 dissemination of allegedly misleading employment and salary information of

 recent graduates to U.S. News & World Report and ABA; plaintiffs’ damages

 theory, which sought damages based on the difference between the “inflated

 tuition” paid in reliance upon Brooklyn Law School’s alleged misrepresentations
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 and the “true value” of a Brooklyn Law School degree, necessitated “improper

 speculation, requiring dismissal of the claims.”).

       In sum, Plaintiff’s damages theory in this case relies on pure speculation and

 conjecture, and is plainly insufficient to constitute “ascertainable loss” under the

 NJCFA. Consistent with the above referenced cases, Plaintiff’s NJCFA claim

 should be dismissed with prejudice.

       C.     Defendants Are Exempt from the NJCFA under the “Learned
              Professionals” Doctrine

       Plaintiff’s claim under the NJCFA also fails as a matter of law, because the

 NJCFA does not apply to “learned professionals” and both state and federal courts

 have held that universities are “learned professionals” exempt from NJCFA

 liability. The “learned professionals” exception “is a judicially crafted rule,

 whereby certain transactions fall outside the CFA’s purview because they involve

 services provided by learned professionals in their professional capacity.” Lee v.

 First Union Nat’l Bank, 199 N.J. 251, 263-64 (2009) (citing Macedo v. Dello

 Russo, 178 N.J. 340, 346 (2004)).

       In Gourdine v. Felician College, Docket No. A-5248-04T3, 2006 N.J. Super.

 Unpub. LEXIS 1792 (App. Div. Aug. 15, 2006),12 nursing students filed a



 12
       While federal courts are not bound to follow state trial court or unpublished
 appellate decisions, they may still be given “due regard” by the Court. Dougherty
 v. Drew Univ., 534 F. Supp. 3d 363, 375 n.4 (D.N.J. 2021).
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 complaint against the college based, in part, on the NJCFA. The plaintiffs had

 received unsolicited materials from the college about an “Accelerated Masters”

 program, and asserted that they relied on various written and oral representations,

 made by college officials, in deciding to apply to the program. Id. at *1-2. Once

 the plaintiffs enrolled, lack of interest in the program led to its format being

 changed. Id. at *3. The plaintiffs also learned that they would not be eligible to

 “sit” for the advanced test which they had allegedly been promised would be

 available to them. Id.

       Regarding the NJCFA claim, the motion judge dismissed that count, finding

 the NJCFA did not apply to the college. Id. at *8. On appeal, the Appellate

 Division affirmed, finding that “[i]n light of the Supreme Court’s most recent

 decision regarding the relationship of [the NJCFA] to learned professionals who

 act within their professional capacities, we discern no ground on which to reach

 a different result than did the motion judge.” Id. at *19-20 (citing Macedo, 178

 N.J. at 345-46).

       This issue was again addressed in Watiti v. Walden University, C.A. No 07-

 4782 (JAP), 2008 U.S. Dist. LEXIS 43217 (D.N.J. May 30, 2008), where the

 district court was faced with the question of whether the NJCFA applied to a claim

 by a former student. There, Walden was a “distance learning” university that

 offered many courses taught completely or partially online. Id. at *1. The plaintiff


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 alleged that promises were made to her by Walden that she would not be required

 to submit to testing on Saturdays, because, as a Seventh Day Adventist, plaintiff's

 religion prohibited her from any nonreligious activity on that day. Id. at *3.

 Despite these alleged assurances, plaintiff was required by Walden to submit to

 Saturday testing and, when she refused, she was failed by one of Walden’s

 professors. Id. That grade was allegedly overturned and the plaintiff was

 withdrawn from the course. Id. at *3-4. The plaintiff was made to wait an

 additional year before she could take the test again. Id. at *3. She alleged that this

 incident caused Walden to discriminate against her going forward, forcing her

 eventual withdrawal from the university. Id. at *4.

       In its defense, the university argued, among other things, that universities are

 “learned professionals” and, therefore, exempt from liability under the NJCFA.

 Id. at *45-46. Citing to Gourdine, Judge Pisano held that “the parties do not

 dispute that Walden is an institution of higher learning. As such, the Court [finds]

 the CFA to be inapplicable to the facts as pled, and, consequently, Plaintiff's claim

 under this statute fails.” Id. at *46.

       Because Rutgers here is a “learned professional,” Plaintiff’s NJCFA fails as

 a matter of law and should be dismissed with prejudice.

 IV.   PLAINTIFF FAILS TO IDENTIFY ANY CONTRACTUAL
       PROVISION THAT WAS BREACHED BY RUTGERS

       Count Two of Plaintiff’s complaint alleges breach of contract. To establish
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 a breach of contract claim, a plaintiff has the burden to prove by a preponderance

 of the evidence that “the parties entered into a contract, containing certain terms;

 plaintiffs performed what was required under the contract; defendant did not fulfill

 its obligation under the contract; and defendant’s breach caused a loss to

 plaintiffs.” Pollack v. Quick Quality Restaurants, Inc., 452 N.J. Super. 174, 188

 (App. Div. 2017) (citing Globe Motor Co. v. Igdalev, 225 N.J. Super. 469, 482

 (2016)). “A plaintiff must identify the specific contract or provision that was

 allegedly breached.” Barker v. Our Lady of Mount Carmel Sch., C.A. No. 12-4308

 2016 U.S. Dist. LEXIS 118067, at *46, (D.N.J. Sept. 1, 2016); Eprotec Pres., Inc.

 v. Engineered Materials, Inc., C.A. No. 10-5097 (DRD), 2011 U.S. Dist. LEXIS

 24231, at *23 (D.N.J. Mar. 9, 2011) (“Failure to allege the specific provisions of

 contracts breached is grounds for dismissal.”). The fundamental weakness with

 Plaintiff’s breach of contract claim is Plaintiff’s failure to adequately “identify the

 specific contract or provision” that Defendants “allegedly breached” in this case.

       Here, Plaintiff alleges that “[b]y the act of matriculation, together with

 payment of required fees, a contract between Plaintiff and Class members, on the

 one hand, and Defendants, on the other hand, was created, in addition to any

 enrollment contract that may have existed between Defendants and the Plaintiff.”

 See Compl. at ¶ 143. Plaintiff then makes the conclusory assertion that “[t]he law

 recognizes that there is an educational contractual relationship between student and


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 college/university.” See Compl. at ¶ 144.13 However, nowhere does Plaintiff point

 to or even plausibly identify any document or writing that supposedly

 memorializes the terms and/or conditions of this contractual relationship. Nor, for

 that matter, does Plaintiff identify “the law” that supposedly “recognizes” this

 “educational contractual relationship,” or what terms and/or conditions govern that

 contractual relationship.

       Plaintiff next alleges—once again, without reference or citation to any

 document or writing—the following terms of the supposed contract:

       Plaintiff accepted Rutgers’ offer to education leading to a degree and
       entered into an agreement to attend [RBS] in exchange for payment of
       agreed upon tuition and fees.

       Rutgers agreed to provide Plaintiff with the necessary course work,
       instruction and training, in a specified time frame, whereby Plaintiff
       would be eligible to earn certification for a degree upon successful
       completion of the required courses.

 See Compl. at ¶¶ 145 & 146.

       However, Plaintiff does not allege any breach of these asserted contractual



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        Courts in New Jersey, however, have warned against the rigid application of
 contract law to govern the student-university relationship. See, e.g., Napolitano v.
 Princeton Univ. Trustees, 186 N.J. Super. 548, 566 (App. Div. 1982) (recognizing
 “[i]n those instances where courts have dealt with the relationship of a private
 university to its students in contractual terms, they have warned against a rigid
 application of the law of contracts to student disciplinary proceedings”); Mittra v.
 Univ. of Med. & Dentistry of N.J., 316 N.J. Super. 83, 85 (App. Div. 1998) (New
 Jersey courts “hold that the relationship between the university and its students
 should not be analyzed in purely contractual terms.”).
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 obligations, nor does he point to an identifiable contractual promise that Rutgers

 failed to honor. Conspicuous by its absence from the Complaint is any allegation

 that Rutgers failed to provide – or that he has been prevented from receiving – the

 promised course work, instruction and training. Nor does Plaintiff allege that his

 courses or faculty were substandard. Likewise, Plaintiff’s own Complaint shows

 that he is still enrolled in RBS’s part-time Specialty Master’s Program for Supply

 Chain Management (see Compl. at ¶ 6), but he does not contend there have been

 any issues with his eligibility “to earn certification for a degree upon successful

 completion of the required courses.” Id. at ¶ 146.

       Instead, Plaintiff merely alleges Rutgers breached their supposed agreement

 by “misreporting data to educational ranking organizations.” Id. at ¶ 148.

 However, Plaintiff fails to identify any contract, let alone any contractual

 provision, that Rutgers breached that is directly (or even indirectly) related to the

 reporting of data to “educational ranking organizations.” Nor does Plaintiff even

 allege that Rutgers promised that certain institutional rankings by particular

 publications would be achieved and/or maintained by any of its programs, let alone

 the program in which Plaintiff is enrolled. Likewise, Plaintiff does not allege that

 any promises or agreements were made by Rutgers regarding certain employment




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 outcomes for graduates of its programs.14 Indeed, Plaintiff fails completely to

 allege any adverse consequences, or the loss of any potential job opportunity, as a

 result of the alleged false reporting of the full-time MBA Program employment

 outcome data he cites to in his Complaint.

       In addition, Plaintiff did not enroll in RBS until September 2019. See

 Compl. at ¶ 6. Yet the alleged breach by Rutgers—the “misreporting data to

 educational ranking organizations”—occurred in 2018. Id. at ¶¶ 49-88. Here,

 Plaintiff puts the proverbial “cart before the horse,” alleging Rutgers breached a

 contract by misreporting data to particular rankings publications in 2018, even

 though no contract could have been formed between Plaintiff and Rutgers until

 sometime in 2019, when Plaintiff actually enrolled in RBS. Nowhere does

 Plaintiff plead facts that would support breach of contract prior to its actual

 formation.

       Finally, Plaintiff’s speculative and fundamentally flawed damages theory,

 discussed in detail above, is also fatal to his breach of contract claim. Kaymark v.

 Bank of America, N.A., 783 F.3d 168, 180-83 (3d Cir. 2015) (affirming dismissal

 of, among other claims, breach of contract because plaintiff failed to plead non-

 speculative damages); Magill v. Westinghouse Elec. Corp., 464 F.2d 294, 300 (3d


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       “Aspirational promises” on a university website “cannot form the basis of a
 breach of contract claim.” Gillis v. Principia Corp., 832 F.3d 865, 873 (8th Cir.
 2016).
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 Cir. 1972) (“a claim for damages must be supported by a reasonable basis for

 calculation; mere guess or speculation is not enough.”) (citation omitted); see also

 Tessmar v. Grosner, 23 N.J. 193, 203 (1957) (requiring that contract damages be

 measured “with some reasonable degree of certainty,” and stating that where it is

 unclear whether damages have resulted there can be no recovery.).

       For all of the foregoing reasons, Plaintiff’s breach of contract claim should

 be dismissed.

  V.   PLAINTIFF’S UNJUST ENRICHMENT CLAIM IS DUPLICATIVE
       AND FAILS AS A MATTER OF LAW

       Although New Jersey law recognizes a plaintiff may plead unjust

 enrichment in the alternative, when the unjust enrichment claim simply duplicates

 the breach of contract claim, as it does here, the claim should be dismissed. See

 Ribble Co. v. Burkert Fluid Control Sys., C.A. No. 15-6173, 2016 U.S. Dist.

 LEXIS 161746, at *13, (D.N.J. Nov. 22, 2016) (dismissing, on motion to dismiss,

 unjust enrichment claim “because it simply duplicates [a] breach of contract

 claim”); Slimm v. Bank of Am. Corp., C.A. No. 12-5846, 2013 U.S. Dist. LEXIS

 62849, at *87, (D.N.J. May 2, 2013) (recognizing a court can dismiss a claim that

 is duplicative of other claims in the complaint). A plaintiff’s pleading is what

 controls the analysis at the motion to dismiss stage i.e., if plaintiff pleads the

 existence of an enforceable agreement, a “quasi-contract” claim like unjust

 enrichment cannot stand. Ribble Co., 2016 U.S. Dist. LEXIS 161746, at *13; see
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 also Winslow v. Corp. Express, Inc., 364 N.J. Super. 128, 143 (App. Div. 2003)

 (claim for unjust enrichment cannot lie where the parties’ relationship is governed

 by contract).

       Here, Plaintiff’s unjust enrichment claim expressly incorporates by reference

 all of the preceding allegations, including those set forth in Plaintiff’s breach of

 contract claim. See Compl. at ¶ 158. Nowhere does the Complaint state that the

 unjust enrichment claim has been pled in the alternative. Moreover, Plaintiff’s

 pleading that his relationship with Rutgers is governed by a contract, precludes any

 “alternative” claim for unjust enrichment. See, e.g., Chong v. Northeastern Univ.,

 494 F. Supp. 3d 24, 30 (D. Mass. 2020) (“[i]t is the availability of a remedy at law,

 not the viability of that remedy, that prohibits a claim for unjust enrichment.”).

 Because Plaintiff’s unjust enrichment claim simply duplicates his breach of

 contract claim, and because Plaintiff also pleads the existence of an enforceable

 agreement with Rutgers (see Compl. at ¶¶ 142-157), his unjust enrichment claim

 should be dismissed.

       Even if not duplicative of the contract claim, the unjust enrichment claim

 fails as a matter of law and should be dismissed. “To establish unjust enrichment,

 a plaintiff must show both that defendant received a benefit and that retention of

 that benefit without payment would be unjust.” VRG Corp. v. GKN Realty Corp.,

 135 N.J. 539, 554 (1994). “The unjust enrichment doctrine requires that plaintiff


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 show that it expected remuneration from the defendant at the time it performed or

 conferred a benefit on defendant and that the failure of remuneration enriched

 defendants beyond its contractual rights.” Id.

       Here, Plaintiff’s unjust enrichment claim should be dismissed because none

 of the allegations, even if deemed true, establish that RBS has been enriched

 unjustly. For example, Plaintiff does not plausibly allege that Rutgers unjustly

 retained the benefit of his tuition and fees. Plaintiff is currently enrolled in RBS

 and receiving credit for courses successfully completed (Compl. at ¶ 6) and will

 presumably receive his graduate degree when he completes his course of study,

 which is what Rutgers agreed to confer when he enrolled in his particular program.

 Id. at ¶ 146. Rutgers’s retention of the tuition and fees paid by Plaintiff to attend

 classes and earn credits towards that degree is not “unjust.”

       District courts in the Third Circuit recognize there is no unjust enrichment

 where a student attends class for which tuition is paid. See David v. Neumann

 Univ., 177 F. Supp. 3d 920, 927 (E.D. Pa. 2016) (dismissing quantum meruit claim

 because “Plaintiff fails to allege how it would be unconscionable for the University

 to retain the tuition paid for classes that she attended.”); Bradshaw v. Pa. State

 Univ., C.A. No. 10-4839, 2011 U.S. Dist. LEXIS 36988, *5, (E.D. Pa. Apr. 5,

 2011) (dismissing unjust enrichment claim because there were no allegations that

 “defendant failed to hold the classes for which she paid her tuition or that she was


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 prevented from attending such classes.”).15 Because Plaintiff is attending courses

 and receiving credits, there can be no unjust enrichment.

       Finally, plaintiff’s speculative and fundamentally flawed damages theory,

 discussed above, is likewise fatal to his unjust enrichment claim. Solomon v.

 Guardian Life Ins. Co. of Am., C.A. No. 96-1597, 1996 U.S. Dist. LEXIS 18342, at

 *2-5 (E.D. Pa. Dec. 10, 1996) (dismissing breach of contract and unjust enrichment

 claims because plaintiff did not adequately plead damages).

       Accordingly, Plaintiff’s unjust enrichment claim should be dismissed.




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        See also Krebs v. Charlotte Sch. of Law, LLC, C.A. No. 17-190, 2017 U.S.
 Dist. LEXIS 143060, at *18 (W.D.N.C. Sept. 5, 2017) (“Payment of tuition and
 fees cannot be unjust if the students received the benefit for which they paid,” and
 plaintiffs cannot define that “benefit” more exactingly than a general provision of
 an education because “[a]ny inquiry into the quality or value of the services
 provided in return for Plaintiffs’ tuition and fees constitutes an impermissible foray
 into education malpractice.”); Myers v. Medford Lakes Bd. of Educ., 199 N.J.
 Super. 511, 514 (App. Div. 1985) (“Educational malpractice has not been approved
 as a theory of recovery in this state or elsewhere.”).
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                                   CONCLUSION

       For the foregoing reasons, Rutgers respectfully requests that Plaintiff’s

 Complaint be dismissed in its entirety. Moreover, because there are no facts that

 could be pled by Plaintiff to remedy the various deficiencies in his Complaint and

 the liability/damages theories pled therein, any effort to amend would be futile.

 Therefore, Rutgers respectfully submits that the dismissal be with prejudice.



                                               Respectfully submitted,


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